Case 1:04-cv-01184-.]DT-STA Document 25 Filed 06/22/05 Page 1 of 4 Page|D 32

 

IN THE UNITED STATES I)ISTRICT COURT OSJW " _ so
FOR THE WESTERN DISTRICT 0F TENNESSEy 'f€g _ ‘ w
EASTERN DIvIsION >- /"7¢§' g /
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DARNICE Cox, ) if al
)
Plaimiff, )
)
v. ) No.= 04-1134.T-An
)
MAYTAG JACKSON DISWASHING )
PRODUCTS, )
)
Defendant. )

 

AMENDED RULE 16(b) SCHEDULING ORDER

 

Pursuant to the Court’s Order granting Plaintiff’s Unopposed Mcltl'on to Continue the trial
and enter an amended Scheduling Order in this matter, the following dates Were established as

the final dates for:

.IOINING PARTIES:
for Plailltiff: July 16, 2005
For Defendant: July 16, 2005
AMENDING PLEADINGS:
for Plaintiff: July 16, 2005
for Deferldant: July 16, 2005

COMPLETING ALL DISCOVERY:

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and
REQUESTS FOR ADMISSIONS: October 10, 2005

This document entered on the docket e tin compliance
with mile 53 and,'or,rs (a) FFlcP on f 1 §§ 5 1 O §
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Case 1:04-cv-01184-.]DT-STA Document 25 Filed 06/22/05 Page 2 of 4 Page|D 33

(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’s Experts: September 161 2005
(ii) Defendant’s Experts: October 16, 2005
(iii) Supplernentation under Rule 26(e): October 26, 2005

(c) DEPOSITIONS: November 7, 2005
FILING DISPOSITIVE MOTIONS: November 21, 2005
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: January 12, 2006
(b) for Defendant: January 27, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 2-3 days and is SET for .IURY TRIAL
on MONDAY, FEBRUARY 27, 2006. A joint pretrial order is due on FRIDAY, FEBRUARY
17, 2006. In the event the parties are unable to agree on a joint pretrial order, the parties must
notify the court at least ten days before trial.

(]THER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FED. R. CIV. P. allow 30 days for a party to
respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection Which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FED. R. CIV. P. 12, 56, 59, and 60, shall be accompanied by
a proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting

Case 1:04-cv-01184-.]DT-STA Document 25 Filed 06/22/05 Page 3 of 4 Page|D 34

forth the reasons for which a reply is required.

At this time, the parties have not given consideration to whether they wish to consent to
trial before the magistrate judge. The parties will file a written consent form with the court
should they decide to proceed before the magistrate judge.

T he parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close ofdiscoverv.

This order has been entered after consultation with trial counsel pursuant to notice.

Absent good Cause shown, the scheduling dates set by this Order will not be modified or
extended.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: §Lwl¢i 223 200(
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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 1:04-CV-01184 was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

